          Case 9:22-cr-00023-DLC Document 9 Filed 04/28/22 Page 1 of 2



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ATTORNEY FOR PLAINTIFF
UNITED STATES OF AMERICA


                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                           MISSOULA DIVISION

  UNITED STATES OF AMERICA,
                                               CR 22-23-M-DLC
                          Plaintiff,
            vs.
                                               APPLICATION
  DEVIN NEIL FARLEY,                           WRIT OF HABEAS CORPUS
                                               (For Prosecution)
                          Defendant.



      The United States of America, represented by Assistant United States

Attorney Tara J. Elliott, petitions the Court to issue a Writ of Habeas Corpus

directing the Director of the Missoula County Detention Center, Missoula, Montana

and the United States Marshal for the District of Montana, to bring Devin Neil

Farley before the Court at the following time and place:


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         Case 9:22-cr-00023-DLC Document 9 Filed 04/28/22 Page 2 of 2



      1:30 P.M., Tuesday, May 31, 2022

      United States Magistrate Court, Missoula, Montana

The presence of Devin Neil Farley is needed to permit him to answer the Indictment

charging him with the following violations of the laws of the United States:

      21 U.S.C. ' 846 – Conspiracy to Distribute Methamphetamine

      21 U.S.C. ' 841(a)(1) – Possession with Intent to Distribute

      Methamphetamine

      21 U.S.C. ' 841(a)(1) – Distribution of Methamphetamine

      18 U.S.C. ' 924(c)(1)(A)(i) – Possession of a Firearm in Furtherance of a

      Drug Trafficking Crime

      The Indictment was filed on April 27, 2022.     The Defendant is presently

under the custody and control of the Missoula County Detention Center and

confined at the Missoula County Detention Center, Missoula, Montana and

therefore cannot appear before this Court unless this Writ is issued.

      DATED this 28th day of April, 2022.

                                       LEIF M. JOHNSON
                                       United States Attorney


                                       /s/ Tara J. Elliott
                                       TARA J. ELLIOTT
                                       Assistant U.S. Attorney
                                       Attorney for Plaintiff




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